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UNITED STATES DISTRICT COURT                                            EI.BCrRONICAl.LY FU ..ED
SOUTHERN DISTRICT OF NEW YORK                                         . Doc#:
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                                                                        DATB FILED:   I .),, I 1o I I

THE BANK OF TOKYO-MITSUBISHI UFJ,
LTD.,                                                                 1 :17-cv-08691

                               Plaintiff,

                          v.


MARIA VULLO , in her official capacity as
Superintendent of Financial Services of the New
York State Department of Financial Services,

                               Defendant.



                       STIPULATION AND          fl!i      !lllUJ ORDER
       WHEREAS , on November 8, 2017, Plaintiff The Bank of Tokyo-Mitsubishi UFJ, Ltd.

(" Plaintiff') filed the above-captioned action (the "Action");

       WHEREAS , on November 20, 2017, Plaintiff personally served the Office of the New

York State Attorney General with a copy of the Complaint at 120 Broadway, 24th Floor, New

York, New York 10271 ; and

       WHEREAS, Plaintiff intends to amend the extant Complaint in the Action as a matter of

course under Federal Rule of Civil Procedure 15(a)(l)(A);

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between

the parties hereto, through their respective counsel , and subject to the Order of the Court, as

follows:

        1.     Defendant Maria Vullo, in her official capacity as Superintendent of Financial

Services of the New York State Department of Financial Services ("Defendant"), waives the
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need for formal service of process and will not contest the sufficiency of service of process in the

Action.

       2.      Plaintiff shall file its amended complaint under Rule 15(a)(l)(A) on or before

December 6, 2017.

          3.   Defendant shall answer, move, or otherwise plead in response to the amended

complaint by January 31, 2018.

Dated: December 5, 2017

STIPULATED AND AGREED TO THIS 5th DAY OF DECEMBER, 2017.




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